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                         EXHIBIT 2
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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK


     IN RE PAYMENT CARD INTERCHANGE                        MDL No. 1720
     FEE AND MERCHANT DISCOUNT                             Case No. 1:05-md-1720-JG-JO
     ANTITRUST LITIGATION

     This document refers to: All Actions



                        DECLARATION OF H. LADDIE MONTAGUE, JR.
                          ON BEHALF OF BERGER MONTAGUE PC

           I, H. Laddie Montague, Jr., hereby declare under penalty of perjury, pursuant to 28

 U.S.C. § 1746, that the following is true and correct to the best of my knowledge, information

 and belief:

           1.     I am Chair Emeritus and a Managing Shareholder of Berger Montague PC 1

 (“Berger Montague”), one of the three firms which were appointed interim Co-Lead Class

 Counsel in MDL No. 1720 (ECF Nos. 279, 6754) and as Class Counsel to represent the Rule

 23(b)(3) Settlement Class (ECF No. 7363). I submit this declaration in support of Rule 23(b)(3)

 Class Plaintiffs’ Award of Attorneys’ Fees and Expenses.

           2.     Merrill G. Davidoff, Chair Emeritus and a Managing Shareholder, and myself (the

 two most experienced and senior antitrust and trial attorneys in the firm), along with Michael J.

 Kane, a Shareholder at Berger Montague with substantial antitrust litigation experience, have led

 the Berger Montague team in this litigation. 2 In addition, because of the massive amount of

 documents produced in this case, Berger Montague utilized associates, staff and contract

 attorneys to review documents under the supervision of Mr. Kane, and other senior attorneys.


 1
   Formerly Berger and Montague P.C.
 2
   Before he departed Berger Montague in 2014, Bart D. Cohen (a shareholder) was also an experienced member of
 the Berger Montague team.

                                                       1
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                BERGER & MONTAGUE TIME, LODESTAR AND EXPENSE

         3.       Berger Montague has been litigating complex class action cases for nearly 50

 years and has used its experience to litigate this case efficiently and effectively. The firm helped

 pioneer the use of class actions in antitrust litigation and was instrumental in extending the use of

 the class action procedure to other litigation areas, including securities, employment

 discrimination, civil and human rights, and mass torts. The firm’s complement of nationally

 recognized lawyers has represented both plaintiffs and defendants in these and other areas and

 has recovered billions of dollars for its clients. In complex litigation, particularly in areas of class

 action litigation, Berger Montague has established new law and forged the path for recovery. The

 firm has served as lead, co-lead or co-trial counsel on many of the most significant civil antitrust

 cases over the last 50 years, including, inter alia, In re Corrugated Container Antitrust Litigation

 (recovery in excess of $366 million), the Infant Formula case (recovery of $125 million), the

 Brand Name Prescription Drug price-fixing case (settlement of more than $700 million), the

 State of Connecticut Tobacco Litigation (settlement of $3.6 billion), the Graphite Electrodes

 Antitrust Litigation (settlement of more than $134 million), and the High-Fructose Corn Syrup

 Litigation ($531 million); In re Currency Conversion Fee Antitrust Litigation (total of $386

 million in settlements); In re Domestic Drywall Antitrust, Litig. (settlements totaling more than

 $190 million).

         4.       From inception of the case through January 31, 2019, Berger Montague has

 devoted 69,119.68 hours to this case. We have employed our depth of talent and experience,

 having a core of three experienced attorneys who have been involved in the litigation from the



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 beginning to the end. This is exemplified by the fact that the three core attorneys (Montague,

 Davidoff, and Kane) account for approximately 35% of the total hours expended by Berger

 Montague and approximately 51% of the lodestar. 3 Over the course of the last approximately

 fourteen years, other Berger Montague attorneys had significant roles in this litigation, such as

 taking depositions, performing legal research, and drafting briefs.

         5.       Berger Montague requires each of its attorneys and paralegals to maintain

 contemporaneous time records which are entered electronically. Time expended is generally

 broken down into six (6) minute intervals or 1/10th of an hour. Each month, Berger Montague

 submitted its time, lodestar and expenses for the previous month to Hulett Harper Stewart LLP,

 which tallied that information for all firms and circulated the results on a monthly basis to the

 Leadership Group. After Preliminary Approval of the Original Settlement was Ordered on

 November 9, 2012 (Docket No. 1729), the Leadership Group established guidelines (set forth in

 paragraphs 6, 7 and 8 of the 2013 Declaration of Thomas J. Undlin in Support of Class Plaintiffs’

 Joint Motion for Award of Attorneys’ Fees, Expenses and Class Plaintiffs’ Awards (ECF No.

 2113-2 April 11, 2013) (“Undlin 2013 Decl.”) and paragraphs 11-12 of the 2019 Declaration of

 Thomas J. Undlin in Support of Class Plaintiffs’ Motion for Award of Attorneys’ Fees and

 Reimbursement of Expenses (“Undlin 2019 Declaration”)) regarding time not to be submitted in

 this case, including, inter alia:

                  a.      attorneys and paralegals who expended less than ten (10) hours in the

                          case;




 3
  If Bart Cohen is included in this group along with Montague, Davidoff and Kane, the group comprises 44% of
 Berger Montague’s total hours and 60.8 % of its lodestar.

                                                        3
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                b.      time expended in timekeeping, expense reporting or the joint fee and

                        expense petition or any fee or expense submissions on behalf of Berger

                        Montague;

                c.      pure travel time has been reduced by fifty percent (50%);

                d.      all time in excess of ten (10) hours in a single day for document review;

                        and

                e.      all time in excess of fifteen (15) in a day for all other work.

 In addition, it was later agreed by Co-Lead Counsel that any first-tier document review would be

 capped at $350/hour or, in the case of contract attorneys, four times their hourly wage. (In the

 case of Berger Montague contract attorneys, the resulting hourly rates were all $200 or less.)

        6.      Prior to submitting our time in support of the April 2013 Joint Motion for fees and

 expenses, to confirm that time was accurate, Berger Montague reviewed each time entry to

 ensure that the amount of time spent on the work was reasonable; that the rates billed for the

 work were reasonable given both the nature of the work being done and the seniority level of the

 attorney or paralegal doing the work; that the amount of detail provided in support of the time

 entry was sufficient; and that the work being done was in furtherance of the Class’s interests.

 The hourly rates used are Berger Montague’s normal hourly rates charged for complex antitrust

 litigation during the time period and have been approved in recent class fee award Orders. With

 the help of our internal accounting staff, adjustments were made to ensure that all of the reported

 time met the criteria established by Co-Lead Counsel as set forth in paragraph 5, above. The

 internal review of our time resulted in Berger Montague’s lodestar being reduced by a total of

 $3,187,001 for the period from inception through November 30, 2012.




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        7.      Exhibit “A” hereto sets forth the adjusted time and lodestar from the inception of

 this case through November 30, 2012 for each Berger Montague attorney and paralegal who

 expended ten (10) or more hours in MDL No. 1720 and is taken from Berger Montague’s

 electronic time records after the reductions were made pursuant to the foregoing paragraph. The

 lodestar is calculated at the regular hourly rate applicable to each attorney and paralegal on

 Exhibit “A” for each relevant time period during which that attorney or paralegal performed

 work (“historical billing rate”). Exhibit “C” hereto sets forth a schedule of hourly rates over time

 for each attorney and paralegal on Exhibit “A.” After the adjustments referred to in paragraph 5,

 supra, from inception through November 30, 2012, Berger Montague billed 55,903.78 total hours

 and had a total lodestar of $20,550,516 at historical billing rates. See Ex. A.

        8.      To ensure that our billing records for the period December 1, 2012 through

 January 31, 2019 are both accurate and comply with the Leadership’s Group’s billing guidelines

 set forth above in paragraphs 5 and 6, Berger Montague again reviewed every time entry. In

 addition, Rule 23(b)(3) Co-Lead Counsel have decided to exclude from the lodestar submission

 for the period December 1, 2012 through January 31, 2019 several categories of time, including:

 1) time spent strategizing and preparing briefs, supporting papers and argument in support of the

 first settlement final approval from the date of preliminary approval through final approval

 (during the time period from December 1, 2012 to December 13, 2013); 2) time spent preparing

 the first and second fee petition materials, including time and expense review of secondary and

 lead firms, working with experts in support, drafting related briefing and declarations; 3) time

 spent responding to the appeal of the 2013 final approval, including research, preparation for the

 oral argument with Paul Clement, review and redlining of draft briefs to be submitted to the

 Second Circuit, review and redlining of the petition for certiorari to the Supreme Court and the



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 like; and 4) time spent investigating, meeting, reviewing records and responding to Mr.

 Friedman’s misconduct in this litigation relating to his communications with and the disclosure

 of confidential and privileged information and materials to Keila Ravelo, who was representing

 defendant Mastercard at the time, including the time associated with the Rule 60 Motions to

 Vacate Judgment and opposition to them (ECF Nos. 6542-6555, 6557-6574). See Undlin 2019

 Declaration ¶ 15. Accordingly, Berger Montague reviewed our time records and removed all

 time Co-Lead Counsel determined to exclude from their lodestar submission. After reviewing

 each time record for the period December 1, 2012 through January 31, 2019, Berger Montague’s

 billed time was reduced by 3,974.66 hours and our lodestar was reduced by $3,242,971.85.

        9.      Exhibit “B” hereto sets forth time and lodestar for the period December 1, 2012

 through and including January 31, 2019, and is taken from Berger Montague’s electronic time

 records after the reductions were made pursuant to the paragraphs 5 and 8. The lodestar is

 calculated at the regular hourly rate applicable to each attorney and paralegal on Exhibit “B” for

 each relevant time period during which that attorney or paralegal performed work (“historical

 billing rate”). Exhibit “C” hereto sets forth a schedule of hourly rates over time for each attorney

 and paralegal on Exhibit “C.” For the period December 1, 2012 through January 31, 2019,

 Berger Montague billed 13,215.90 total hours and had a total lodestar of $8,147,716 at historical

 billing rates. See Ex. B.

        10.     After the adjustments referred to in paragraphs 5, 6 and 8, supra, from inception

 through January 31, 2019 Berger Montague billed 69,119.68 total hours and had a total lodestar

 of $28,698,232.30 at historical billing rates. If current rates were applied to those 69,119.68 total

 hours, Berger Montague’s total lodestar would be $37,561,677.50.




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         11.     A full print-out of Berger Montague’s time records from inception of this matter

 through January 31, 2019 is available.

         12.     Berger Montague has advanced the costs of litigation in this matter, both with

 respect to its own costs as well as payment of assessments to a common fund to which all

 Plaintiffs’ counsel in the Class case were asked to contribute. Berger Montague records its

 expenses by case in its computer system contemporaneously as such expenses are paid or

 reported. In particular, to ensure that our expense submissions are accurate we reviewed all of

 the out-of-pocket cost entries reflected in our system to confirm that such costs were reasonable

 and expended in furtherance of the Class’s interest. Berger Montague did a detailed review of the

 submitted expense to ensure that they complied with the objective criteria established by Co-

 Lead Counsel as set forth in paragraph 7 of the Undlin 2013 Declaration and paragraph 13 of the

 Undlin 2019 Declaration. This included making sure that each meal was limited to no more than

 $75 per person, all airline tickets are billed at coach rates (even “up-fare” tickets that were

 purchased as a coach class ticket and automatically upgraded to first class and appear on the

 itinerary as a first class ticket); that charges for the mini-bar, alcohol, fitness center charges and

 other personal expenses were removed.

         13.     Exhibit “D” hereto is a true and correct summary of those costs from inception

 through November 30, 2012 and Exhibit “E” hereto is a true and correct summary of those

 adjusted costs from December 1, 2012 through and including January 31, 2019 by subject matter

 (e.g., travel and lodging, assessments, telephone, reproductions, etc.). A full printout of Berger

 Montague’s costs is available. Berger Montague’s total adjusted costs from inception through

 January 31, 2019 is $6,040,170.58.




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         14.    Berger Montague has represented the Rule 23(b)(3) Class on a contingent fee

 basis. Berger Montague to date has not received any fees.

         15.    Berger Montague has performed legal services and incurred and paid expenses

 subsequent to January 31, 2019 and will continue to do so. Berger Montague’s lodestar does not

 include any time spent prosecuting this case after January 31, 2019, and it does not include any

 estimates for future time to be incurred in seeking final approval of this Settlement,

 administering the Settlement or handling future appeals (if any). The total also neither includes

 any time spent by anyone preparing this fee and expense petition, including supporting

 documents nor the substantial time spent reviewing Berger Montague’s detailed billing reports to

 make the adjustments to time and expenses described herein. Berger Montague reserves the

 right to submit its subsequent lodestar and expenses to the Court as a supplement to the current

 Petition.

                           BERGER MONTAGUE PARTICIPATION

         16.    Berger Montague has a background in aspects of the banking industry relating to

 payment cards. For example, Merrill G. Davidoff and Michael J. Kane were involved in

 litigation involving hidden charges on credit cards involving foreign currency and litigation

 involving interchange fees associated with the use of ATM machines.

         17.    In 2005, several businesses had discussed with Berger Montague the issue of the

 high level of expense of acceptance of the payment cards of the major networks. Following on

 that, Berger Montague attorneys met with other counsel, in particular, counsel for clients which

 became known as the individual plaintiffs, to exchange ideas and legal theories, issues, strategy

 and planning. This expanded into meetings with the Robins Kaplan LLP (“Robins Kaplan”)

 (formerly Robins Kaplan Miller & Ciresi, L.L.P.) and with Joseph Goldberg (Freedman Boyd



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  Daniels Hollander & Goldberg P.A.), Dennis Stewart (Hulett Harper Stewart LLP) and Robbins

  Geller Rudman & Dowd LLP (“Robbins Geller”) (formerly Lerach Coughlin Stoia Geller

  Rudman & Robbins). It was only after these conferences and after research that Berger

  Montague filed a class action complaint on behalf of Tabu Salon in the District of Connecticut.

  Berger Montague joined the motion before the Panel on Multidistrict Litigation to transfer all

  cases to the Eastern District of New York and I argued before the Panel on behalf of plaintiffs

  requesting transfer to that District. (Argued 9/29/2005.)

         18.     Once transferred, the cases had to be organized. As Robins Kaplan, Robbins

  Geller and Berger Montague had been working together on this litigation for several months, and

  based upon their backgrounds and experience, it was natural that the three firms moved to be

  appointed interim lead counsel (hereinafter “Class Counsel”). Once that occurred, the

  Leadership Group was established. Joseph Goldberg and Dennis Stewart were appointed as Co-

  Chairmen of the Executive Committee and became part of the main Leadership Group for the

  class action cases. On November 27, 2012, upon preliminary approval of the Original

  Settlement, the Court appointed Robins Kaplan, Berger Montague and Robbins Geller “to serve

  as Class Counsel.” (Docket No. 1745.) On December 13, 2013, the Court granted Final

  Approval of the Original Settlement (Docket No. 6124). Subsequently, the Final Approval of the

  Original Settlement was appealed to the Second Circuit. On June 30, 2016, the Second Circuit

  issued a Decision vacating the Original Settlement and the Class Certification. Upon remand to

  the District Court, the firms of Berger Montague, Robins Kaplan and Robbins Geller were

  appointed interim co-lead counsel for a putative class of plaintiffs seeking class certification

  pursuant to Federal Rule of Civil Procedure 23(b)(3) on November 30, 2016. (Docket No. 6754)




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          19.      Since inception through the present, as Class Counsel, Berger Montague

  participated in both litigation phases and every aspect of this litigation, including in addressing

  the day-to-day issues and problems, of which there were many. The Leadership Group discussed

  and made all the decisions and assignments in the case, prepared almost all motions and briefs

  and presented all arguments to the Court. This Group developed and organized pretrial

  discovery and fully participated in all aspects. Likewise, Berger Montague, along with the rest

  of the Leadership Group, participated in every aspect of the original mediation and settlement

  process, and the subsequent mediation and settlement process that culminated in the superseding

  settlement agreement, and the associated preliminary and final approval papers.

          20.      The activities of Rule 23(b)(3) Co-Lead Counsel are set forth in the Declarations

  of K. Craig Wildfang 4 and will not be repeated here. While the Leadership Group worked

  together, particular aspects of the case were assigned to individual Leadership Firms. For

  example, Berger Montague took the lead in class certification issues, including principle

  responsibility for the depositions of class representatives, class action expert reports, class action

  expert depositions and the motion, memorandum and reply memorandum in support of class

  certification. Other members of the Leadership Group and other counsel contributed to the final

  effort. Mr. Davidoff of Berger Montague argued the class motion during a full day hearing.

  Following remand from the Second Circuit, Berger Montague was responsible for the

  depositions of Chase and Bank of America, in addition to participating in other depositions.

  Berger Montague also had significant responsibility for negotiating supplemental document and




  4
    Declaration of K. Craig Wildfang in Support of Rule 23(b)(3) Class Plaintiffs’ Motion for Final Approval of the
  Class Settlement and Class Counsel’s Petition for Award of Fees and Costs, being field concurrently herewith and
  Declaration of K. Craig Wildfang in Support of Rule 23(b)(3) Class Plaintiffs’ Motion for Preliminary Approval of
  Settlement (ECF No. 7257-3 Sept. 18, 2018).

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  data productions from defendants, reviewing and analyzing those productions, and working with

  experts, among other things.

         21.     As one would expect, Berger Montague was very involved in all aspects of the

  first and second mediation and settlement negotiations and process. Indeed, this was a

  collaborative effort on the part of the entire Leadership Group as well as the other class counsel

  who represented certain Class Representatives. Throughout the entire litigation process, it is

  impossible for each member of the Leadership Group to give justice to all that each contributed,

  for it would have been very difficult for this case to have been litigated as it was without the full

  cooperation and participation of the Leadership Group and other counsel when called upon and

  without each firm's willingness to advance its share toward the overall common expenses.

         Dated this      ] ~ay of June, 2019.

                                                          If 'l-lifo.;;.'--µ 4
                                                         H. Laddie Montague, Jr.
                                                         BERGER MONTAGUE PC
                                                         1818 Market Street, Suite 3600
                                                         Philadelphia, PA 19103
                                                         Telephone: (215) 875-3000
                                                         Fax: (215) 875-4604
                                                         hlmontague@bm.net




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                                             EXHIBIT “A”

                          (SH = Shareholder; A= Associate; PL = Paralegal;
                          CA = Contract Attorney; SA = Summer Associate)

         For each person whose time is included, the below charts set forth the name, billing rate

  and period in effect, hours for each billing rate, and lodestar for each billing rate.

                         BERGER MONTAGUE PC TIME
                           Inception – November 30, 2012
               TIMEKEEPER                  TOTAL HOURS                         TOTAL LODESTAR
   ANDREW C. CURLEY (A)                                 31.60                             9,480.00
   BETH A. BURGHAZE (PL)                                10.50                             2,100.00
   BART D. COHEN (SH)                                5,775.80                         2,669,928.00
   BRET P. FLAHERTY (SH)                                92.10                            31,788.00
   CAITLIN G. COSLETT (SH)                             953.90                           254,232.00
   CANDICE J. ENDERS (SH)                              368.06                           124,413.50
   CHARLES P. GOODWIN (SH)                           1,127.00                           508,506.00
   DAVID ANZISKA (A)                                   500.50                           142,038.50
   DAVID A. LANGER (A)                                 520.90                           177,857.00
   DA RITZMAN (CA)                                   1,107.50                           210,425.00
   EUGENE R. TOMPKINS (CA/A)                         7,668.50                         1,725,692.50
   EDWARD W. MILLSTEIN (SH)                             48.80                            17,637.00
   H LADDIE MONTAGUE, JR (SH)                        3,241.80                         2,350,120.00
   JB BLAKE (CA)                                     1,193.50                           226,765.00
   JENNA E MCNAUGHTON-WONG (A)                       1,069.24                           317,510.60
   JK KLEIN (CA)                                     2,792.20                           502,596.00
   JILL L. FREEMAN (A)                                 812.80                           295,819.50
   JUNE M. CUSACK (PL)                                 253.30                            52,162.50
   KIMBERLY A. WALKER (PL)                              24.90                             5,407.50
   KEVIN C. ALDRIDGE (PL)                              219.50                            41,534.00
   KAREN M. MARKERT (PL)                             2,009.75                           468,227.50
   KP KEMLER (PL)                                      103.20                            24,768.00
   LM MUCCI (CA)                                     1,238.80                           235,372.00
   LAURA X. GLEASON (A)                              3,689.94                           952,485.20
   MARY ANNE ROSSI (PL)                                206.30                            49,512.00
   MICHAEL C. DELL'ANGELO (SH)                         123.40                            52,661.50
   MERRILL G. DAVIDOFF (SH)                          3,985.20                         2,925,379.00
   MARTIN I. TWERSKY (SH)                              109.50                            63,292.00
   MICHAEL J. KANE (SH)                            10,834.29                          4,559,092.00
   MATTHEW P. MCCAHILL (A)                           3,206.00                         1,048,786.00
   NICHOLAS X. URBAN (A)                               114.90                            29,055.00
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                        BERGER MONTAGUE PC TIME
                          Inception – November 30, 2012
              TIMEKEEPER                  TOTAL HOURS          TOTAL LODESTAR
   P.V. TELANG (PL)                                    22.50             5,312.50
   PETER B. NORDBERG (SH)                              15.50             6,975.00
   PM MANLEY (CA)                                   1,300.60           247,114.00
   RG GOLDEN (CA)                                   1,092.80           207,632.00
   SHAWN L. MATTEO (PL)                                16.70             3,340.00
   SARAH S. SCHALMAN-BERGEN (SH)                       22.00             5,500.00
   TOTALS                                          55,903.78         $20,550,516.30
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                                     EXHIBIT “B”

                     (SH = Shareholder; A= Associate; PL = Paralegal;
                     CA = Contract Attorney; SA = Summer Associate)


                         BERGER MONTAGUE PC TIME
                        December 1, 2012 - January 31, 2019
               TIMEKEEPER                  TOTAL HOURS             TOTAL LODESTAR
   BART D. COHEN (SH)                                   215.6               124,565.00
   CAITLIN G. COSLETT (SH)                               2.20                   935.00
   CHRISTINA M. BLACK (A)                           1,283.70                458,726.00
   DAVID A. LANGER (A)                              1,494.10                901,244.00
   EUGENE R. TOMPKINS (A)                           2,307.70                807,695.00
   GEORGE A. MacMILLIAN (PL)                          261.80                 78,865.00
   H LADDIE MONTAGUE, JR (SH)                       1,062.10                999,304.50
   KAREN M. MARKERT (PL)                                33.90                11,166.00
   MERRILL G. DAVIDOFF (SH)                         1,056.90                996,584.00
   MARTIN I. TWERSKY (SH)                               30.50                23,600.00
   MICHAEL J. KANE (SH)                             4,239.00              2,825,986.00
   MATT P. McCAHILL (A)                                 44.70                18,327.00
   MARK R. STEIN (A)                                     7.00                 1,562.50
   PHYLLIS M. PARKER (SH)                               12.50                 6,582.50
   RUTHANNE GORDON (SH)                             1,120.50                882,478.00
   SUNSHINE RIDER-IVERS (PL)                            25.70                 6,810.50
   SUSAN L. LEO (PL)                                    18.00                 3,285.00
   TOTALS                                          13,215.90             $8,147,716.00
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                                                  EXHIBIT “C”
                                     BERGER MONTAGUE PC HOURLY BILLING RATES

Timekeeper            Rate      Rate      Rate       Rate      Rate         Rate      Rate      Rate       Rate      Rate      Rate      Rate      Rate      Rate
                      Effect.   Effect.   Effect.    Effect.   Effect.      Effect.   Effect.   Effect.    Effect.   Effect.   Effect.   Effect.   Effect.   Effect.
                      2005      1/1/06-   7/1/07-    1/1/09-   3/1/10-      3/1/11-   3/1/12-   8/1/13-    2014      2015      2016      2017      2018      2019
                                6/30/07   12/31/08   2/28/10   2/28/11      2/28/12   7/31/13   12/31/13
H. Laddie             590       650       700        725       750          775       790       845        900       925       950       960       975       985
Montague, Jr.
Merrill Davidoff      590       650       700        725       750          775       790       845        900       925       950       960       975       985
Michael Kane          350       370       395        405       450          475       500       575        625       650       665       675       685       700
Martin Twersky        485       520       550        575       650          660       675       700        720       750       760       770       780       790
Ruthanne Gordon       485       520       550        575       650          660       675       700        720       760       770       780       795       805
David Langer                    290       365        385       425          450       485       525        535       575       590       600       610       620
Eugene Tompkins                 200       200        200       200          350       350       350        350       350       350       350       350       350
                                                               (3/1/10 -
                                                               10/31/10);
                                                               350
                                                               (11/1/10-
                                                               2/28/11)
Candice Enders                  270       325        335       360          380       410       450        565       590       615       625       635       645
Bart Cohen            370       400       450        475       550          560       570       600        610
Peter Nordberg                            450        525       575
Michael Dell’Angelo                       425        460       525          535       560       600        660       685       700       715       750       800
Edward Millstein      360       375       385
Charles Goodwin                 365       450        475       525          535       550       575        590
Jill Freeman                    340       365
Bret Flaherty                   340       400        410       440          450       475
Phyllis M. Parker                                                                     500       535        550       600       610       615       625       635
Jenna McNaughton-               290       300        360       360          360       425       475        500       525       550       560
Wong
Caitlin Coslett                                      250       275          290       350       425        450       475       490       515       570       590
Sarah Schalman-                                      250       320          350       385       440        475       550       570       580       605       620
Bergen
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Timekeeper             Rate      Rate         Rate       Rate      Rate      Rate      Rate      Rate       Rate      Rate      Rate      Rate      Rate      Rate
                       Effect.   Effect.      Effect.    Effect.   Effect.   Effect.   Effect.   Effect.    Effect.   Effect.   Effect.   Effect.   Effect.   Effect.
                       2005      1/1/06-      7/1/07-    1/1/09-   3/1/10-   3/1/11-   3/1/12-   8/1/13-    2014      2015      2016      2017      2018      2019
                                 6/30/07      12/31/08   2/28/10   2/28/11   2/28/12   7/31/13   12/31/13
Matthew McCahill                 205          325        335       360       380       410
                                 (10/2006 -
                                 11/2006);
                                 270
                                 (12/2006 -
                                 6/2007)
David Anziska                    265          285        295
Andrew Curley                                            300       300       380       410       450        525       590       615       625       635       645
Laura Gleason                    215          260        275       310
Nick Urban                                               250       275       290       340       400        450       475       490       505       515       530
Christina M. Black                                                                                                              350       350       375       405
Karen Markert          195       210          225        240       240       240       250       250        300       310       320       330
Susan L. Leo                                                                                                150       150       150       170       200       250
Anne N. Ebbesen                                                                        250       250
PV Telang              195       210          225        240       240       240       250       250        275
Kevin Aldridge         180       195          200        215       215       215       215
Kimberly Walker                  210          225        240       240       240       240       240        275
Mary Anne Rossi                                                    240
KP Kemler                                                          240       240       240       240        240       250       260       280       285       300
June Cusack                      190          200        215       215       215       215       215        275
Shawn Matteo                                  200        215       215       215       215       215        275       285       300       330
Beth Burghaze                                 200
Sunshine Rider-Ivers                                                                                                                      265
George A MacMillan                                                                                                                        300       305       310
Mark R. Stein                                                                          215       215        275       285       300       330       335       340
JK Klein                         180          180
RG Golden                        190          190
JB Blake                         190          190
LM Mucci                         190          190
DA Ritzman                       190          190
PM Manley                        190          190
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                                      EXHIBIT “D”

                           BERGER MONTAGUE PC EXPENSES
                                  Inception – November 30, 2012
                         Description                         Cumulative Total
        Assessments                                                     3,390,000.00
        Commercial Copies                                                   4,632.71
        Internal Reproduction/Copies                                       96,163.65
        Computer Research                                                 264,332.19
        Court Fees (filing, etc.)                                           2,270.82
        Court Reporters/Transcripts                                           284.92
        Telephone/Fax                                                       4,665.42
        Postage/Express Delivery/Couriers                                  15,729.32
        Professional Fees (expert/investigator, etc.)                      13,000.00
        Witness/Service Fees
        Travel (Transportation, lodging, meals, etc.)                     431,463.27
        Miscellaneous (Describe): OCR; electronic
        file conversion; electronic endorsing;
        electronic hosting and misc. computer
        expenses; CD/DVD burns                                             6,047.80
        Miscellaneous (Describe): overtime; misc.
        office expense                                                       153.75
        Miscellaneous (Describe): publications                             1,409.30
        Miscellaneous (Describe): advertising                                935.00
        TOTAL EXPENSES                                                 4,231,088.15

        LESS FIRST CLASS AIRFARE                                         -11,364.18

        ADJUSTED TOTAL
        (FROM DETAILS SHEET)                                           4,218,798.06
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                                      EXHIBIT “E”

                           BERGER MONTAGUE PC EXPENSES
                              December 1, 2012 - January 31, 2019
                         Description                        Cumulative Total
        Assessments                                                    1,639,664.44
        Commercial Copies                                                  1,187.76
        Internal Reproduction/Copies/Printing                             41,212.15
        Computer Research                                                 24,459.14
        Court Fees (filing, etc.)                                             50.00
        Court Reporters/Transcripts                                          210.00
        Telephone/Fax                                                        279.99
        Postage/Express Delivery/Couriers                                    969.74
        Professional Fees (expert/investigator, etc.)                          0.00
        Witness/Service Fees                                                   0.00
        Travel (Transportation, lodging, meals, etc.)                    117,816.20
        Miscellaneous (Describe): OCR; electronic
        file conversion; electronic endorsing; and
        misc. computer expenses; CD/DVD burns                                106.40
        Miscellaneous (Describe); Kaleidoscope
        Database Hosting                                                     871.50
        Miscellaneous (Describe): books,
        publications                                                          32.00
        TOTAL EXPENSES                                                 1,826,859.32

        LESS FIRST CLASS AIRFARE, OTHER
        TRAVEL CREDITS                                                  - 5,486.80


        ADJUSTED TOTAL                                              1,821,372.52
